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 IT IS HEREBY ADJUDGED and DECREED that the
 below described is SO ORDERED.


 Dated: October 13, 2016.

                                               ________________________________________
                                                          CRAIG A. GARGOTTA
                                                  UNITED STATES BANKRUPTCY JUDGE
 ________________________________________________________________
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